                         Case 8:19-cv-01944-SAG                 Document 324-2                  Filed 07/09/25                        Page 1 of 1



                                                IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF MARYLAND
              J.O.P., et al.                                                *
                    Plaintiff,
                                                                            *
                                                                                                                      8:19-CV-01944-SAG
                    v.                                                                          Case No.
              U.S. Department of Homeland Security, et al.
                                                                            *

                    Defendant.                                              *

                                              NOTICE OF FILING OF DOCUMENT UNDER SEAL
              Check one.

                          Exhibit                     which is an attachment to


                          will be electronically filed under seal within 24 hours of the filing of this Notice.

               X          Exhibit A: Declaration by Secretary of State May 23, 2025
                                                                        (title of document)

                          will be electronically filed under seal within 24 hours of the filing of this Notice.

                          I certify that at the same time I am filing this Notice, I will serve copies of the document
              identified above by email to Brian T. Burgess at bburgess@goodwinlaw.com                                                                                   .

              7/9/2025                                                            /S/ Erhan Bedestani
              Date                                                                Signature
                                                                                   Erhan Bedestani (MN Bar No. 0504824)
                                                                                  Printed Name and Bar Number

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